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                                                         Exhibit A to the Complaint
Location: Brooklyn, NY                                                                                  IP Address: 74.68.59.219
Total Works Infringed: 39                                                                               ISP: Spectrum
 Work      Hashes                                                                UTC             Site         Published      Registered   Registration
 1         Info Hash: 848D53796E57ECC9339584B00C85DBECC15B1972                          06-01-   Vixen        05-27-2022     06-27-2022   PA0002355035
           File Hash:                                                                     2022
           71BA8001D0DB2EABF4C24A1E059187713B008BB937F30A0217782816A4C04421           03:05:13
 2         Info Hash: D323B4EC16C8CD83752B6A5E4B65DEED95346FA2                          05-09-   Vixen        05-06-2022     05-20-2022   PA0002350383
           File Hash:                                                                     2022
           32BB57E161FF42FDD49E28DBBB43994CDD455364EEA844B2396E47DDB7E46DA2           15:39:35
 3         Info Hash: D587F487F1E7C828A591E34C3BE2B443D57BD17B                          05-02-   Vixen        04-29-2022     05-20-2022   PA0002350386
           File Hash:                                                                     2022
           4A6690EFF814EBF7C2B83DA61CFC3C128F709B7D3BAF1F95A58723A56FAB7E3F           03:37:28
 4         Info Hash: B69BF5B650F1ABF419E907FD8D52BDCE9C2A4187                          04-14-   Slayed       11-04-2021     12-03-2021   PA0002333371
           File Hash:                                                                     2022
           3FA25930916E2643986F94CF66312ECB7A8B3D56DCAD8EE77945F3F70CEC6866           14:10:27
 5         Info Hash: 2D80D6E659AEBC1C055D76199363C6D3A6E17EC4                          04-12-   Slayed       10-14-2021     11-01-2021   PA0002326407
           File Hash:                                                                     2022
           0467C7C351660CCEAB39C5655AA1FAD4C19C70A18BF857CEFF8F4E8451F67A4B           18:43:33
 6         Info Hash: C6A583E22B969AF1D642CE152B313C80A24D7502                          04-12-   Slayed       10-21-2021     11-01-2021   PA0002326406
           File Hash:                                                                     2022
           91288A5B54CE6DE8C6676B86A0DDA3ECF7DD52B0DC6B84B83541968C277FA08F           18:41:41
 7         Info Hash: 6949179385D814C6234383F7E0182E01EC15685A                          04-07-   Slayed       10-07-2021     11-01-2021   PA0002326408
           File Hash:                                                                     2022
           72C975222E064D148CCE5523E2B0805C111C136A2649DC791F1534EC519A41FB           13:22:41
 8         Info Hash: 0F058C65F3232B7C21FC46A70D9A282290A70729                          02-15-   Vixen        02-11-2022     02-14-2022   PA0002335457
           File Hash:                                                                     2022
           13F283614EA119F14F567A4C85407B6D90A09735B58AE12228BE7A085CB81F34           01:59:43
 9         Info Hash: 3ACD1EECE1081E1CA41E348646481F4D9E28B44E                          02-06-   Vixen        02-04-2022     02-14-2022   PA0002335462
           File Hash:                                                                     2022
           478D6B308D7B444EECEAD5198C28C40247F9B84D3ACABEE6DA17B102831E08E7           19:11:50
 10        Info Hash: D10DD855E1B9F8937F079FA39B40F3730DEE95C4                          01-21-   Slayed       08-26-2021     09-08-2021   PA0002316103
           File Hash:                                                                     2022
           83B5920A46DF8C75E436FE2B8FD47589075363F3F545D7F3F2D71EE9DE6BCB91           22:15:51
 11        Info Hash: 978DAB995093847C5BE3A19B9B64D305D063B756                          01-21-   Slayed       01-04-2022     02-03-2022   PA0002341800
           File Hash:                                                                     2022
           A968A4D1C691D1C8F088ADE0D25CB63298D6EC684EF9B1016049564E6682788B           22:14:32
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Work   Hashes                                                             UTC         Site     Published    Registered   Registration
12     Info Hash: E2D4A404654D90063AD427121874DAE5BE1A7196                   01-21-   Slayed   01-11-2022   02-03-2022   PA0002341794
       File Hash:                                                              2022
       C47E1A387F715C5B217AC156AA84F4B5FD8C3E147D5EAAADDE08C263A8A6A59C    22:13:41
13     Info Hash: D6D23B2CE977EEB36DEA56CDC5E75DC35F366570                   01-21-   Slayed   09-02-2021   09-30-2021   PA0002319733
       File Hash:                                                              2022
       DC52E6D34147E0E750C91D649DA30DB83DF04E8B3251EE10DC33D971F7F5B576    22:13:16
14     Info Hash: 91715251BBA1712249DAB7C6494CAA8725A810F1                   01-21-   Slayed   08-05-2021   09-08-2021   PA0002316094
       File Hash:                                                              2022
       9AD951E60F2F01CF94148BD5E3535BC08829AE4B53E5B9B802D6A9949CC883AF    22:12:11
15     Info Hash: 70B284BC18C7859CC075F5C3D3F66404CDF8F61D                   01-21-   Slayed   09-09-2021   09-30-2021   PA0002320424
       File Hash:                                                              2022
       D0EA06025AC216C09A5FC937ACB62081A76AD6102B13F8507C82A76890D7B4E3    22:11:30
16     Info Hash: C6F2AC50B7C7AB7FD8BBF83577BA681AFDFE3F1E                   01-21-   Slayed   08-12-2021   09-08-2021   PA0002316100
       File Hash:                                                              2022
       2A76A4B2EC4395F95E49286DA50156ED4CBCBCAFB6758E3AFF7211F9D1C6E7D0    22:11:17
17     Info Hash: 7B2F9B4680B39AA92B91BB424C28E023B00F7BC6                   01-21-   Slayed   12-21-2021   01-07-2022   PA0002337942
       File Hash:                                                              2022
       E7DE2E10A76765C74A11D2C24885F54A7785798A6B19A29D5965CAA4568AC5D3    22:11:16
18     Info Hash: 18F765FCA7C2CB22C0A8EF5AA537CA95018CE83C                   01-21-   Slayed   09-23-2021   11-01-2021   PA0002326412
       File Hash:                                                              2022
       5C4ABEE9DBEF60D949B2FB10AE7770DB924BBB35D35FDA01EB7C1328BF245B6D    22:11:11
19     Info Hash: 11D40149681AB89C9F04913344830DB23C2642CA                   01-21-   Slayed   12-07-2021   01-07-2022   PA0002337491
       File Hash:                                                              2022
       34BC8CA35E6EC492FB4201F5252A1CA5D7155F412DBA6471BBC82B43D4BF12D8    22:11:06
20     Info Hash: 604754A044638714B2D42EEF1CD6268A6791EABB                   01-21-   Slayed   12-14-2021   01-07-2022   PA0002337928
       File Hash:                                                              2022
       428753430D344904A56ABC1776729A65F112C7858C337E32C093D74745C814E9    22:10:56
21     Info Hash: 98CD859C25F3472E82B27BB6AB807AA4B7F1C0EE                   01-21-   Slayed   01-18-2022   02-03-2022   PA0002341748
       File Hash:                                                              2022
       EA7DFE340C90D974BA0CB07E3B0E06469B4B6B2E6E83D27D371F0C54FB3AA9F9    22:10:11
22     Info Hash: 4462F15ECCAE3038C0E004C2DB3C7942CBA68F27                   01-17-   Vixen    01-14-2022   03-04-2022   PA0002345789
       File Hash:                                                              2022
       AA7966D1EC58A23D2922019D9593ADAD91E50106211EB64A264A882FA4900E4B    03:14:14
23     Info Hash: D5D957EA513F098AEF8D28D63D0E511AD10F5AE0                   01-09-   Vixen    12-31-2021   01-17-2022   PA0002330094
       File Hash:                                                              2022
       FCA889C717E64AE82BDE078A13DB81E2D3988BDE36B95988E80350628DE162B5    16:09:14
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Work   Hashes                                                             UTC         Site    Published    Registered   Registration
24     Info Hash: 4840754257C9663A9DE1402B921F8823383F24D3                   12-26-   Vixen   12-24-2021   01-17-2022   PA0002330122
       File Hash:                                                              2021
       670980E86652057C5DC70AA7DC040362C9D7FB658C7B62E55400B0A0F317B3EE    14:36:55
25     Info Hash: 9F60EBB81F4C2CC20B87E20A0DF8F2F146FAF3DE                   12-26-   Vixen   12-17-2021   01-17-2022   PA0002330110
       File Hash:                                                              2021
       66C17539B3EB7FD12B6862F331F6C960DB542F9885E0A225FFF373C780097FE1    14:31:28
26     Info Hash: 2FCBD1C3933C171D375EC8699D1FDE9EA1DA6C10                   12-12-   Vixen   12-10-2021   03-04-2022   PA0002345787
       File Hash:                                                              2021
       68210442F19631B56C7724F6E921FFB48D663BD863DECF01943DCB7CB59A8AC2    22:51:26
27     Info Hash: A46EF5D51533052AB5DB18AD5D59C02498112521                   12-06-   Vixen   12-03-2021   12-09-2021   PA0002325832
       File Hash:                                                              2021
       E5D45312A0B249EB3F0741F4B012A08C297C648B314375ED6CC0A752B45BE90B    03:26:42
28     Info Hash: 795401C50FDDADEABBF656934EF4862EDAF4D812                   11-15-   Vixen   11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2021
       54D9902D31E13E7895DED6398A97BF3B7210AE9A96A784AE73230AECE8305429    05:01:55
29     Info Hash: 30E07E2124EB9681F8D0DABF9E2121927302FD72                   11-04-   Vixen   10-29-2021   11-11-2021   PA0002321280
       File Hash:                                                              2021
       96A7A9222CD845946BB1F902ABD4BB1A3ACF0AB353C3A5AAA0C1C1F1C046C9CC    02:53:15
30     Info Hash: 698177E2B9D81FCDCC41C55002A0CDB5DE9C3670                   10-23-   Vixen   12-15-2017   01-24-2018   PA0002101764
       File Hash:                                                              2021
       7836789A06673F176CE59799CD41DF28C3E015408AE15D3D4CC776849AAEA9B2    19:16:46
31     Info Hash: 63DFE31973E8D9C33E4F6DC4A565B760E78B2463                   10-23-   Vixen   12-10-2017   01-04-2018   PA0002097451
       File Hash:                                                              2021
       5823B89B3CE90E5E33801FF1E9C4C87D98B236B0012E245C8248E40D0E7F79FB    19:02:41
32     Info Hash: 775F2CA14447D23424007E92CCEAE9378307B48E                   10-18-   Vixen   10-15-2021   10-19-2021   PA0002317061
       File Hash:                                                              2021
       393A96A4745DB1CF46E96730EAB57731FE56A1C423EE2CE3AFB30A929D0BE688    13:33:57
33     Info Hash: 76F95670FA20DDC51B0DA2B370811C85A77261AF                   09-28-   Vixen   09-24-2021   11-11-2021   PA0002321289
       File Hash:                                                              2021
       F07BEB037C33C3900A5286CAE8445B4E99443F63E28A3B1FE01CCA53F259A240    01:36:59
34     Info Hash: D9F6076D4145F5E574FFDE66993B5D70E7E3CBE5                   09-20-   Vixen   09-17-2021   10-05-2021   PA0002315292
       File Hash:                                                              2021
       39B5A5580E39240898CA0E2F034DFD8ACCD0C18D98E2EE291BC07B4E336BED5C    18:28:24
35     Info Hash: AC3D3B8282563DDBACFEEB9915DA0ACA37FEC2DD                   09-18-   Vixen   09-13-2021   09-30-2021   PA0002319739
       File Hash:                                                              2021
       CE1C7E0C34CCE673204AB3CE70296C4466B044EFBE38AE0A048211F0E959DCA2    03:48:52
                      Case 1:22-cv-03933-CBA-TAM Document 1-1 Filed 07/06/22 Page 4 of 4 PageID #: 13

Work   Hashes                                                             UTC         Site    Published    Registered   Registration
36     Info Hash: BC56F83209A6EACC873D0DF0F7F89DE072F64235                   09-15-   Vixen   09-13-2021   10-05-2021   PA0002315286
       File Hash:                                                              2021
       2334FFB84C15582D1F3D7054C16C996E10A3FB6B61D94C71A0645B8A5058F270    16:20:11
37     Info Hash: D3C7547DFCD8ED55266AD1B89E3DB438623BAFF5                   09-07-   Vixen   09-03-2021   09-30-2021   PA0002320425
       File Hash:                                                              2021
       77A1BFABFF7693F1B8DFD978DBE77DC1B649C8700FA90290EAB65328CE80BD32    01:34:04
38     Info Hash: A415A6857FC17645C0DD4F459251809AE42AF562                   08-30-   Vixen   08-27-2021   09-30-2021   PA0002319735
       File Hash:                                                              2021
       BCB5233B1D65A9B1514D1C32F7A765BBEFEE0FAB7DA467BC9573F47FE7EC1955    02:47:08
39     Info Hash: 21E23F7C0BAAC0161DF86A3E07E5545754D8DE25                   08-23-   Vixen   04-24-2017   06-15-2017   PA0002037568
       File Hash:                                                              2021
       8E3DA9D418507C4F5BCA355A3ACA8488ED223A70EAD8C21964A295BC21850AFF    16:15:41
